          Case 3:21-cv-00080-MMD-CLB Document 272 Filed 08/23/22 Page 1 of 4




 1   Christopher Mixson (NV Bar#10685)
     KEMP JONES, LLP
 2   3800 Howard Hughes Parkway, Suite 1700
     Las Vegas, Nevada 89169
 3   702-385-6000
 4   c.mixson@kempjones.com

 5   Attorney for Plaintiffs
 6   Roger Flynn, (CO Bar#21078) Pro Hac Vice
 7   Jeffrey C. Parsons (CO Bar#30210), Pro Hac Vice
     WESTERN MINING ACTION PROJECT
 8   P.O. Box 349, 440 Main St., #2
     Lyons, CO 80540
 9   (303) 823-5738
10   wmap@igc.org

11   Attorneys for Great Basin Resource Watch, Basin and Range Watch, and Wildlands Defense
12   Talasi B. Brooks (Idaho Bar #9712), Pro Hac Vice
13   WESTERN WATERSHEDS PROJECT
     P.O. Box 2863
14   Boise ID 83714
     (208) 336-9077
15   tbrooks@westernwatersheds.org
16
     Attorney for Western Watersheds Project
17
                                  UNITED STATES DISTRICT COURT
18                                     DISTRICT OF NEVADA
19
     BARTELL RANCH LLC, et al.,                         )   Case No.: 3:21-cv-80-MMD-CLB
20                                                      )   (LEAD CASE)
                    Plaintiffs,                         )
21                                                      )   ENVIRONMENTAL PLAINTIFFS’
22                                                      )   NOTICE OF SUPPLEMENTAL
     ESTER M. MCCULLOUGH, et al.,                       )   AUTHORITY OF THE NINTH
23                                                      )   CIRCUIT’S DENIAL OF THE
                                                        )   PETITION TO REHEAR ITS
24                  Defendants,                         )   ROSEMONT MINE DECISION
25                                                      )
                                                        )
26   LITHIUM NEVADA CORPORATION,                        )
                                                        )
27                  Intervenor-Defendant.               )
28



                                                                                              1
          Case 3:21-cv-00080-MMD-CLB Document 272 Filed 08/23/22 Page 2 of 4




 1
 2   __________________________________________
                                                         )
 3   WESTERN WATERSHEDS PROJECT, et al.,                 )       Case No.: 3:21-cv-103-MMD-CLB
 4                                                       )       (CONSOLIDATED CASE)
                    Plaintiffs,                          )
 5                                                       )
     RENO SPARKS INDIAN COLONY, et al.,                  )
 6                                                       )
 7                  Intervenor-Plaintiff,                )
                                                         )
 8   BURNS PAIUTE TRIBE,                                 )
                                                         )
 9                  Intervenor-Plaintiff,                )
10                                                       )
     v.                                                  )
11                                                       )
     UNITED STATES DEPARTMENT OF THE                     )
12   INTERIOR, et al.,                                   )
13                                                       )
                    Defendants,                          )
14                                                       )
     LITHIUM NEVADA CORPORATION,                         )
15                                                       )
16                  Intervenor-Defendant.                )

17
            Plaintiffs, Western Watersheds Project, et al., (WWP) file this Notice of Supplemental
18
     Authority of the Ninth Circuit’s decision denying the Petition for Rehearing/Rehearing En Banc
19
     filed by the Rosemont Copper Company of the Ninth Circuit’s Opinion issued on May 12, 2022,
20
     Center for Biological Diversity v. U.S. Fish and Wildlife Service, 33 F.4th 1202 (9th Cir.
21
     2022)(Rosemont Mine Decision).
22
            WWP relied on the Rosemont Mine Decision in its response/reply summary judgment
23
     brief (ECF No. 264). Federal Defendants and LNC presented their arguments on the Rosemont
24
     Mine Decision in their summary judgment reply briefs. ECF No. 267 (Federal Defendants), ECF
25
     No. 270 (LNC).
26
27          On July 27, 2022, the Rosemont Copper Company filed its Petition for

28   Rehearing/Rehearing En Banc. The federal government public land agency defendants did not




                                                                                                      2
          Case 3:21-cv-00080-MMD-CLB Document 272 Filed 08/23/22 Page 3 of 4




 1
 2   seek rehearing. Amicus briefs in support of Rosemont’s Petition were filed by the National

 3   Mining Association, and the American Mining and Exploration Association.

 4          On August 22, 2022, the Ninth Circuit issued its Order denying Rosemont’s Petition.

 5   “The petition for panel rehearing and rehearing en banc is DENIED.” Order at 2 (attached).

 6
 7   Respectfully submitted this 23rd day of August, 2022.
 8
     /s/ Christopher Mixson
 9   Christopher Mixson (NV Bar#10685)
     KEMP JONES, LLP
10   3800 Howard Hughes Parkway, Suite 1700
     Las Vegas, Nevada 89169
11
     702-385-6000
12   c.mixson@kempjones.com

13   Attorney for Conservation Group Plaintiffs
14
     /s/ Roger Flynn
15   Roger Flynn, (Colo. Bar #21078)
     Jeffrey C. Parsons, (Colo. Bar #30210)
16   WESTERN MINING ACTION PROJECT
     P.O. Box 349, 440 Main St., #2
17
     Lyons, CO 80540
18   (303) 823-5738
     wmap@igc.org
19
     Attorneys for Plaintiffs GBRW, BRW, and WD
20
21   /s/ Talasi Brooks
     Talasi B. Brooks (ISB #9712)
22   Western Watersheds Project
     P.O. Box 2863
23
     Boise ID 83701
24   (208)336-9077
     tbrooks@westernwatersheds.org
25
     Attorney for Plaintiff WWP
26
27
28



                                                                                                  3
          Case 3:21-cv-00080-MMD-CLB Document 272 Filed 08/23/22 Page 4 of 4




 1                                           Certificate of Service

 2   I, Roger Flynn, certify that I served the foregoing on August 23, 2022, by filing it with this
     Court’s ECF filing system, where all parties are represented.
 3
 4   /s/ Roger Flynn

 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                                                                                      4
